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                          Exhibit I




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  16                            UNITED STATES DISTRICT COURT
  17                          CENTRAL DISTRICT OF CALIFORNIA
  18                             WESTERN DIVISION – Los Angeles
  19
  20 YUGA LABS, INC.,                           Case No.: 2:22-cv-04355-JFW-JEM
  21                    Plaintiff,              PLAINTIFF YUGA LABS, INC.’S
                                                AMENDED OFFER OF PROOF FOR
  22          v.                                LAUREN KINDLER
  23
       RYDER RIPPS, JEREMY CAHEN,
  24
                        Defendants.
  25
  26
  27
  28

       AMENDED OFFER OF PROOF FOR LAUREN
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       AMENDED OFFER OF PROOF FOR LAUREN
                                                                    Exhibit I
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   1          Pursuant to the Court’s June 2, 2023 Order (Dkt. 264), Plaintiff Yuga Labs,
   2 Inc. (“Yuga Labs”) submits the following amended offer of proof for its expert
   3 witness Lauren Kindler.
   4 I.       Opinion No. 1
   5          a.      Opinion from Ms. Kindler
   6          Based on Ms. Kindler’s expertise and experience, her review of the relevant
   7 materials produced in this matter, and an analysis of transactions on the Ethereum
   8 blockchain, she reached the opinion that, as of February 1, 2023, Defendants earned
   9 $1,589,455 in profits associated with their wrongful conduct (the promotion and sale
  10 of RR/BAYC NFTs). These profits were generated by 1) Defendants’ sales of the
  11 infringing RR/BAYC NFTs that they minted and began to sell in May 2022, 2) creator
  12 fees that Defendants collected from resales of infringing RR/BAYC NFTs on
  13 secondary markets, and 3) the value of infringing RR/BAYC NFTs that Defendants
  14 hold or did not mint. Defendants’ profits of $1,589,455 likely underestimate Yuga
  15 Labs’ economic harm, in terms of lost profits, because had Yuga Labs, as opposed to
  16 Defendants, minted additional NFTs with its marks, they likely would have sold at
  17 higher prices. Profits continue to accrue to Defendants, as resales on secondary
  18 markets are ongoing.
  19          b.      Relevance
  20          This opinion is relevant to Yuga Labs’ remedies under Yuga Labs’ first claim
  21 for false designation of origin and its second claim for false advertising.
  22          Ms. Kindler’s testimony, among other evidence, will show the harm to Yuga
  23 Labs as a result of Defendants’ trademark infringement and false advertising in
  24 relation to the promotion, marketing, and sale of the RR/BAYC NFTs. Ms. Kindler’s
  25 testimony is also relevant to calculating Defendants’ profits from the sale of
  26 infringing RR/BAYC NFTs.
  27
  28

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                                                                            Exhibit I
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   1          c.      Basis for Opinion
   2                  1.     Report (Exhibit A)
   3          The basis for Ms. Kindler’s opinion is contained in her report at ¶ 1
   4 (Introduction and Assignment); ¶¶ 2-5 (Qualifications and Experience); ¶¶ 6-7
   5 (Information Reviewed and Considered); ¶¶ 8, 9(a), 9(b) (Summary of Opinions);
   6 ¶¶ 11-40 (Background); ¶¶ 41-54 (Evidence of Consumer Confusion Resulting from
   7 the Wrongful Conduct); ¶¶ 57-78 (Evaluation of Yuga Labs’ Damages Due to
   8 Defendants’ Wrongful Conduct); Appendices A-C; Supplemental Expert Report,
   9 Appendices A-B.
  10                  2.     Deposition Testimony (Exhibit B)
  11          Ms. Kindler testified about her opinion in her deposition at:
  12               • 14:3-16
  13               • 19:20-20:5
  14               • 20:12-14
  15               • 20:19-22
  16               • 25:8-27:2
  17               • 33:11-34:7
  18               • 36:10-23
  19               • 56:25-58:18
  20               • 74:17-23
  21               • 75:4-76:10
  22               • 85:15-87:12
  23               • 87:21-88:7
  24               • 88:11-89:21
  25               • 91:5-17
  26               • 92:22-93:22
  27               • 94:1-97:17
  28               • 107:9-113:14

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   1               • 114:24-116:6
   2               • 117:14-119:5
   3               • 120:15-121:13
   4               • 126:19-128:16
   5               • 133:9-134:4
   6               • 134:22-135:9
   7               • 138:8-140:11
   8               • 141:1-141:24
   9               • 170:6-171:22
  10                  3.     Materials Relied On (Exhibit C)
  11          In forming her opinion, Ms. Kindler relied on the documents and statements
  12 contained in Exhibit C.
  13 II.      Opinion No. 2
  14          a.      Opinion from Ms. Kindler
  15          Based on Ms. Kindler’s expertise and experience, her review of the relevant
  16 materials produced in this matter, and an analysis of relevant transactions on the
  17 Ethereum blockchain, she reached the opinion that Yuga Labs could, as an effort to
  18 mitigate further harm, purchase and destroy all infringing RR/BAYC NFTs and Yuga
  19 Labs’ cost to do so would be $1,792,704. Ms. Kindler opined that this estimate is
  20 very likely understated, as some RR/BAYC NFT owners (including the Defendants
  21 themselves) may be “holdouts” in this hypothetical buyback effort and drive up costs
  22 to Yuga Labs by charging above-market prices. Any increase in the value of
  23 RR/BAYC NFTs would result in further unjust enrichment to Defendants.
  24          Based on tweets posted by Defendants on June 6, 2023, and subsequent
  25 comments and retweets regarding the hypothetical buyback effort, Ms. Kindler has
  26 reached the opinion that awareness in the marketplace created by these tweets has led
  27 to (and likely will continue to lead to) an increase in the value of RR/BAYC NFTs,
  28

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                                                                          Exhibit I
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   1 and therefore an increase in the cost to purchase and destroy them.1 Immediately
   2 after Defendants tweets on June 6, 2023, the price and trading volume of RR/BAYC
   3 NFTs increased. The newly offered and sold RR/BAYC NFTs were also posted at
   4 prices that were at or above the current floor price. In addition, Twitter users
   5 claiming to hold RR/BAYC NFTs posted comments on Twitter in response to
   6 Defendants’ tweets stating that they would only be willing to sell their RR/BAYC
   7 NFTs if offered anywhere between 10 and 120 ETH, or $18,374 – $220,484 at the
   8 current conversion rate of $1,837.37 per ETH.2 This new evidence confirms Ms.
   9 Kindler’s original opinion that her calculation of $1,792,704 likely understated the
  10 cost to purchase and destroy all 9,496 outstanding RR/BAYC NFTs, and supports a
  11 cost to purchase and destroy the RR/BAYC NFTs of up to $797,183,838.3
  12          b.      Relevance
  13          This opinion is relevant to Yuga Labs remedies under its first claim for false
  14 designation of origin and its second claim for false advertising.
  15          Ms. Kindler’s testimony, among other evidence, will show the expenses
  16 required for Yuga Labs to mitigate the ongoing harm caused by Defendants’
  17 trademark infringement and false advertising in relation to the promotion and sale of
  18 the infringing RR/BAYC NFTs.
  19
  20   1
         As of June 8, 2023, the original tweets posted by Defendants on June 6, 2023 had
  21   nearly 60,000 views, over 250 likes, close to 100 replies, and over 50 retweets. Ms.
       Kindler reserves the ability to supplement this offer of proof prior to trial should
  22   Defendants’ activities on Twitter or other social media platforms further warrant it.
  23   2
         The original calculation performed by Ms. Kindler was based on a floor price of
       $188.79 per RR/BAYC NFT.
  24   3
         Based on the current floor price of authentic BAYC NFTs, which is 45.69 ETH,
  25   or $83,949 (which is lower than the indicated willingness to accept by at least some
       holders of RR/BAYC NFTs). This calculation assumes that holders of RR/BAYC
  26   NFTs would be willing to accept a buyback offer at a price equivalent to an
  27   authentic BAYC NFT. It is Ms. Kindler’s opinion that if there are holdouts even at
       this price, consistent with the recent social media evidence, the cost to purchase and
  28   destroy all RR/BAYC NTFs could even be higher.

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   1          c.      Basis for Opinion
   2                  1.     Report (Exhibit A)
   3          The basis for Ms. Kindler’s opinion is contained in her report at ¶ 1
   4 (Introduction and Assignment); ¶¶ 2-5 (Qualifications and Experience); ¶¶ 6-7
   5 (Information Reviewed and Considered); ¶¶ 8, 9(c)(ii) (Summary of Opinions);
   6 ¶¶ 11-40 (Background); ¶¶ 41-54 (Evidence of Consumer Confusion Resulting from
   7 the Wrongful Conduct); ¶¶ 57, 85-86 (Evaluation of Yuga Labs’ Damages Due to
   8 Defendants’ Wrongful Conduct); Appendices A-C; Supplemental Expert Report,
   9 Appendices A-B.
  10                  2.     Deposition Testimony (Exhibit B)
  11          Ms. Kindler testified about her opinion in her deposition at:
  12               • 14:3-16
  13               • 19:20-20:5
  14               • 20:12-14
  15               • 20:19-22
  16               • 25:8-27:2
  17               • 33:11-34:7
  18               • 37:23-38:20
  19               • 56:25-58:18
  20               • 74:17-23
  21               • 75:4-76:10
  22               • 167:14-168:14
  23               • 169:19-170:5
  24               • 170:6-171:22
  25                  3.     Materials Relied On (Exhibits D and G)
  26          In forming her opinion, Ms. Kindler relied on the documents and statements
  27 contained in Exhibits D and G.
  28

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   1 III.     Opinion No. 3
   2          a.      Opinion from Ms. Kindler
   3          Based on Ms. Kindler’s expertise and experience and her review of the relevant
   4 materials produced in this matter, she reached the opinion that, in addition to the
   5 measures of harm quantified above, Defendants’ wrongful conduct caused (and
   6 continues to cause) additional types of unjust enrichment to Defendants that are
   7 significant, yet more difficult to quantify. Specifically, Defendants have been able
   8 to “free ride” on Yuga Labs’ investments in creating the BAYC brand.
   9          b.      Relevance
  10          This opinion is relevant to Yuga Labs remedies under its first claim for false
  11 designation of origin and its second claim for false advertising.
  12          Ms. Kindler’s testimony, among other evidence, will show the extent of
  13 Defendants’ ill-gotten gains as a result of their trademark infringement and false
  14 advertising in relation to the promotion and sale of the infringing RR/BAYC NFTs.
  15          c.      Basis for Opinion
  16                  1.     Report (Exhibit A)
  17          The basis for Ms. Kindler’s opinion is contained in her report at ¶ 1
  18 (Introduction and Assignment); ¶¶ 2-5 (Qualifications and Experience); ¶¶ 6-7
  19 (Information Reviewed and Considered); ¶¶ 8, 10 (Summary of Opinions); ¶¶ 11-40
  20 (Background); ¶¶ 41-54 (Evidence of Consumer Confusion Resulting from the
  21 Wrongful Conduct); ¶¶ 57, 89 (Evaluation of Yuga Labs’ Damages Due to
  22 Defendants’ Wrongful Conduct); Appendices A-B; Supplemental Expert Report,
  23 Appendices A-B.
  24                  2.     Deposition Testimony (Exhibit B)
  25          Ms. Kindler testified about her opinion in her deposition at:
  26               • 14:3-16
  27               • 19:20-20:5
  28               • 20:12-14

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   1               • 20:19-22
   2               • 25:8-27:2
   3               • 33:11-34:7
   4               • 74:17-23
   5               • 75:4-76:10
   6               • 128:24-131:1
   7               • 132:22-133:8
   8                  3.     Materials Relied On (Exhibit E)
   9          In forming her opinion, Ms. Kindler relied on the documents and statements
  10 contained in Exhibit E.
  11 IV.      Opinion No. 4
  12          a.      Opinion from Ms. Kindler
  13          Based on Ms. Kindler’s expertise and experience and her review of the relevant
  14 materials produced in this matter, she reached the opinion that, in addition to the
  15 measures of harm quantified above, Defendants’ wrongful conduct caused (and
  16 continues to cause) additional types of harm to Yuga Labs that are significant, yet
  17 more difficult to quantify. Specifically, (1) the confusion created by the wrongful
  18 conduct caused damage to Yuga Labs’ business; (2) testimony from Yuga Labs’
  19 former CEO indicates that the wrongful conduct likely resulted in Yuga Labs’ loss
  20 of at least one valuable partnership opportunity with another firm; (3) the wrongful
  21 conduct likely harmed Yuga Labs’ goodwill. In sum, Yuga Labs has suffered (and
  22 continues to suffer) harm as a result of Defendants’ wrongful conduct, beyond the
  23 damages amounts calculated in Ms. Kindler’s report.
  24          b.      Relevance
  25          This opinion is relevant to Yuga Labs remedies under its first claim for false
  26 designation of origin and its second claim for false advertising.
  27          Ms. Kindler’s testimony, among other evidence, will show the extent of harm
  28 to Yuga Labs caused by Defendants’ trademark infringement and false advertising in

       AMENDED OFFER OF PROOF FOR LAUREN
                                                                            Exhibit I
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   1 relation to the promotion and sale of the RR/BAYC NFTs.
   2          c.      Basis for Opinion
   3                  1.     Report (Exhibit A)
   4          The basis for Ms. Kindler’s opinion is contained in her report at ¶ 1
   5 (Introduction and Assignment); ¶¶ 2-5 (Qualifications and Experience); ¶¶ 6-7
   6 (Information Reviewed and Considered); ¶¶ 8, 10 (Summary of Opinions); ¶¶ 11-40
   7 (Background); ¶¶ 41-54 (Evidence of Consumer Confusion Resulting from the
   8 Wrongful Conduct); ¶¶ 57, 90-93 (Evaluation of Yuga Labs’ Damages Due to
   9 Defendants’ Wrongful Conduct); Appendices A-B; Supplemental Expert Report,
  10 Appendices A-B.
  11                  2.     Deposition Testimony (Exhibit B)
  12          Ms. Kindler testified about her opinion in her deposition at:
  13               • 14:3-16
  14               • 19:20-20:5
  15               • 20:12-14
  16               • 20:19-22
  17               • 25:8-27:2
  18               • 33:11-34:7
  19               • 74:17-23
  20               • 75:4-76:10
  21               • 177:2-178:24
  22               • 185:9-186:2
  23               • 186:15-190:14
  24                  3.     Materials Relied On (Exhibit F)
  25          In forming her opinion, Ms. Kindler relied on the documents and statements
  26 contained in Exhibit F.
  27
  28

       AMENDED OFFER OF PROOF FOR LAUREN
                                                                              Exhibit I
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   1 Dated: June 8, 2023                   FENWICK & WEST LLP
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       AMENDED OFFER OF PROOF FOR LAUREN
                                                                         Exhibit I
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